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                                                                   Friday, 24 August, 2018 06:07:26 PM
                                                                           Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )       Crim. No. 17-20037
                                           )
BRENDT A. CHRISTENSEN,                     )       Hearing Requested
                                           )
       Defendant.                          )

      MOTION TO STRIKE “DEATH DURING THE COMMISSION OF ANOTHER
                  CRIME” AS AN AGGRAVATING FACTOR

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Motion to Strike “Death During Commission of Another Crime”

as a statutory aggravating factor (18 U.S.C. § 3592(c)(1)) states as follows:

I.     Procedural History

       On July 12, 2017, Defendant BRENDT A. CHRISTENSEN was charged by

Indictment with one count of kidnapping in violation of 18 U.S.C. § 1201(a)(1). (R. 13) A

Superseding Indictment was filed on October 3, 2017, alleging one count of kidnapping

resulting in death in violation of 18 U.S.C. § 1201(a)(1) and two counts of false

statements in violation of 18 U.S.C. § 1001(a)(2). The Superseding Indictment also

contained a Notice of Special Findings listing four gateway intent factors under 18

U.S.C. § 3591(a)(2) and three statutory aggravating factors under 18 U.S.C. § 3592(c):

that Y.Z.’s death occurred during the commission of a kidnapping (Section 3592(c)(1));

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that the defendant committed the offense in an especially heinous, cruel or depraved

manner (Section 3592(c)(6)); and that the defendant committed the offense after

substantial planning and premeditation (Section 3592(c)(9)). (R. 26)

       Count 1 of the Superseding Indictment was a death-eligible charge, and on

January 19, 2018, the government filed its Notice of Intent to seek the death penalty

(NOI). (R. 54) The NOI re-alleged the four intent factors as well as the three statutory

aggravating factors contained in the Superseding Indictment, and added six non-

statutory aggravating factors: victim impact evidence, future dangerousness, lack of

remorse, other serious acts of violence, vulnerable victim, and obstruction of justice. (R.

54)

II.    Argument

       The statutory aggravating factor alleging that the death in this case occurred

during the commission of another crime, specifically kidnapping resulting in death, is

duplicative of the essential elements of Count 1 and should be stricken as violative of

the Eighth Amendment. Count 1 of the Superseding Indictment alleges that the

defendant “willfully and unlawfully seized, confined, inveigled, decoyed, kidnapped,

abducted and carried away Y.Z., . . . which resulted in the death of Y.Z.” (R. 26) The

NOI similarly alleges that the “death . . . occurred during the commission” of the

kidnapping. (R. 54) In other words, the substantive offense is that the kidnapping

resulted in death, and the statutory aggravating factor is that the death occurred as a

result of the kidnapping.

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       Where an aggravating factor simply restates an aspect of the offense charged in

the indictment, its allegation violates the Eighth Amendment, because it fails to narrow

the class of offenders subject to the death penalty. Additionally, asking the jury to

weigh the same information risks skewing the penalty selection decision by permitting

double counting.

       A. The Federal Death Penalty Act (FPDA) is intended to narrow the class of
          offenders who are eligible for capital punishment by requiring the jury to
          find aggravating factors at the penalty phase of the proceedings.

       “To pass constitutional muster, a capital sentencing scheme must ‘genuinely

narrow the class of persons eligible for the death penalty and must reasonably justify

the imposition of a more severe sentence on the defendant compared to others found

guilty of murder.’” Lowenfield v. Phelps, 484 U.S. 231, 244 (1988) (quoting Zant v.

Stephens, 462 U.S. 862, 877 (1983), and Gregg v. Georgia, 428 U.S. 153 (1976)). The

Supreme Court in Lowenfield noted that this “narrowing function” can occur in one of

two ways: “The legislature may itself narrow the definition of capital offenses . . . so

that the jury finding of guilt responds to this concern, or the legislature may more

broadly define capital offenses and provide for narrowing by jury findings of

aggravating circumstances at the penalty phase.” Id. at 246.

       In Lowenfield, the defendant was convicted of three counts of first degree murder

in Louisiana, which required as an essential element of the crime a finding that the

defendant intended to “kill or inflict great bodily harm upon more than one person.” Id.

at 233 (citing La. Rev. Stat. Ann. § 14:30A(3) (West 1986)). One of the statutory

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aggravating factors that the jury found in imposing a sentence of death was that the

defendant “knowingly created a risk of death or great bodily harm to more than one

person.” Id. at 235. The defendant argued that the death sentence should be reversed

because the aggravating factor found by the jury was identical to an essential element of

the offense of conviction, and such duplication was constitutionally impermissible. Id.

at 236, 241.

       In rejecting the defendant’s argument, the Supreme Court noted that Louisiana

has five “grades” of homicide, one of which was first degree murder, and that the

definition of first degree murder narrowed the category of offenders who were eligible

for a death sentence. Id. at 241-42. Under the Louisiana capital sentencing scheme, the

“narrowing function” was performed by the jury at the guilt phase, not the penalty

phase. Id. at 246. Once the jury had found the defendant guilty of three counts of

murder under the provision that “the offender has a specific intent to kill or to inflict

great bodily harm upon more than one person,” the fact that the sentencing jury was

also required to find the existence of an aggravating circumstance that duplicated one of

the elements of the crime did not make the sentence constitutionally infirm. Id.

       The holding in Lowenfield is inapplicable to cases involving the FDPA because 1)

the FDPA conducts the narrowing function at the penalty phase, not the guilt phase,

and 2) the FDPA is a weighing statute, whereas the Louisiana law at issue in Lowenfield

was a non-weighing statute. As a result, the holding should not apply in the present



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case, and should not restrict this Court from striking the aggravating factor of “death

during the commission of a crime” as duplicative of the elements of the offense.

       B. The Federal Death Penalty Act performs the narrowing function at the
          penalty phase, not the guilt phase, rendering any aggravating factor which
          echoes an element of the underlying offense unconstitutionally
          duplicative.

       The lesson of Lowenfield was that an aggravating factor that mirrors an essential

element of the offense will be valid if the jury’s narrowing function is performed at the

guilt phase, but that is not necessarily true if the narrowing function is performed at the

penalty phase. The FDPA states that for any death-eligible charge for which the

government has submitted a notice of intent to seek the death penalty, the proceedings

are bifurcated. First, the issue of guilt is determined. Second, if a guilty verdict is

returned, the jury must balance the factors in aggravation against the factors in

mitigation to determine whether or not a sentence of death is warranted. 18 U.S.C. §§

3591-3593. As such, the narrowing function is performed at the penalty phase, not the

guilt phase.

       In United States v. Kaczynski, 1997 WL 34626785 *20 (E.D. Cal.), the district court

addressed whether or not the aggravating factor “death during the commission of an

offense” was improperly duplicative of the charged offense (18 U.S.C. § 844(d) –

prohibiting the transportation or receipt of explosives with the knowledge or intent that

it will be used to kill). The district court distinguished Lowenfield as follows:

               Lowenfield held that consideration of an aggravating factor
               that duplicates the charged crime or an element thereof is
               not improper if the requisite narrowing has already been
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              accomplished. See Lowenfield, 484 U.S. at 246. In Lowenfield,
              the substantive crime itself had sufficiently narrowed the
              class of individuals eligible for the death penalty. Id. For that
              reason, the Supreme Court held that it was not
              impermissible for a statutory aggravating factor to duplicate
              an element of the charged offense.

              The federal death penalty statute, in contrast to the statute
              involved in Lowenfield, does not narrow those eligible for the
              death penalty by narrowly defining the substantive crimes.
              Instead, it narrows the class of those eligible through the mental
              state findings and the statutory aggravating factors. Unlike in
              Lowenfield, where the aggravating circumstances did not play a
              part in the constitutionally required narrowing process, the
              statutory aggravating factors here do perform a narrowing
              function. If this function is to be accomplished, the simple
              repetition of the crime of which a defendant has already been
              convicted cannot properly be used as an aggravating factor.
              Since the statute requires the jury to find only one statutory
              aggravating factor, the narrowing function of these aggravating
              factors would be completely undermined if the mere
              commission of the charged offense could suffice.

Kaczynski, 1997 WL 34626785 *21.

       Although several appellate courts have rejected this argument, a close look

shows that those cases are either distinguishable or utterly failed to engage in the

thoughtful and detailed analysis stated above. For example, in United States v. Higgs, 353

F.3d 281, 315 (4th Cir. 2003), the court found that the aggravating factor of “death

during the commission of a kidnapping” properly performed the narrowing function

required by the Eighth Amendment. However, in Higgs, the defendant was charged

with first-degree murder in violation of 18 U.S.C. § 1111(a), and the aggravator at issue

was submitted for that charge. Id. It was not submitted as an aggravator for the


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substantive kidnapping counts charged under 18 U.S.C. § 1201, unlike in the present

case, where no § 1111 charge is pending and the § 1201 charge is the only death-eligible

count at issue. Id. In United States v. Hall, 152 F.3d 381, 416 (5th Cir. 1998), abrogated on

other grounds by United States v. Martinez-Salazar, 528 U.S. 304 (2000), the defendant also

argued that the aggravating factor of “death during the commission of another offense”

did not narrow the jury’s discretion. But that argument was premised on the fact that

the defendant was not eligible for the death penalty because the kidnapping statute

itself did not require proof of a specific mental state with respect to the death. Id. The

Fifth Circuit disagreed because the penalty phase required proof beyond a reasonable

doubt that at least one of the four gateway intent factors was present. Id. at 417. In so

holding, the court relied on Lowenfield, but never mentioned the differences between the

Louisiana statute and the FDPA.

       Despite the holdings of these cases, no court has addressed the point made in

Kaczynski: that the simple repetition of the crime of which a defendant has already been

convicted does not meet the narrowing requirement of the Eighth Amendment in the

context of the FDPA. Based on the foregoing, this Court should strike the non-statutory

aggravating factor of “death during the commission of another offense” as duplicative

of the elements of Count 1.




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       C. Even if the Court finds that the narrowing function can still be properly
          performed with a duplicative aggravating factor, it should strike the factor
          due to the potential for unfair skewing effect in the weighing process.

       The FDPA is further distinguishable from the statute in Lowenfield on the ground

that it is a weighing statute, meaning the jury must weigh the aggravating factors

against the mitigating factors in determining whether to impose a death sentence. The

Court in Lowenfield did not address the problem of duplication in the context of the

weighing procedure required under the FDPA. See United States v. McVeigh, 944 F.

Supp. 1478, 1489 (D. Colo. 1996).

       In striking the aggravating factor of death during the commission of an offense,

the district court in McVeigh recognized the Supreme Court’s prior holding that the

“weighing process is highly sensitive to the influence of aggravating factors that might

unfairly tip the scales in favor of death,” therefore the government may not introduce

those offenses as aggravating factors that duplicate the crimes charged in the

indictment. Id. (citing Stringer, 503 U.S. at 231-43. “To allow the jury to weigh as an

aggravating factor a crime already proved in a guilty verdict would unfairly skew the

weighing process in favor of death.” Id. at 1489-90.

III.   Conclusion

       Lowenfield does not preclude the Eighth Amendment relief sought by this

Motion. Although many cases have applied Lowenfield to support the proposition that

an aggravating factor may duplicate the elements of the underlying offense, those cases

did not engage in the analysis that the Kaczynski and McVeigh courts did; rather, they

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summarily concluded that a pronouncement of law relevant to a non-weighing state

statute universally applied to a weighing federal statute. Because Lowenfield is

inapplicable to the present case, this Court should find that allowing the jury to weigh

an aggravating factor which duplicates an element of the offense wrongly tips the scale

in favor of death, and cannot be permitted.

      WHEREFORE, Defendant requests that this Court strike the statutory

aggravating factor of “death during the commission of another crime.”

             Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

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